         USDC
AO 458 (Rev.        IN/ND case
             06/09) Appearance        1:20-cv-00037-HAB-SLC
                               of Counsel                           document 2 filed 01/21/20 page 1 of 1

                                 UNITED STATES DISTRICT COURT
                                                          for the
                                             Northern District
                                           __________  DistrictofofIndiana
                                                                    __________


          LIGTEL COMMUNICATIONS, INC.                        )
                         Plaintiff                           )
                            v.                               )       Case No.    1:20-cv-00037
        BAICELLS TECHNOLOGIES INC. et al                     )
                       Defendant                             )

                                            APPEARANCE OF COUNSEL

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         LIGTEL COMMUNICATIONS, INC.                                                                                    .


Date:       01/21/2020                                                                /s/ Michael J. Nelson
                                                                                       Attorney’s signature


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